Case 2:04-cV-02139-.]P|\/|-de Document 72 Filed 07/08/05 Page 1 of 3 Page|D 113

 

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UNITED STATESDISTRICTCOURT 05 JUL _8 H"! ‘.'3
WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISIoN M“'?,*$SWETM
w/D C~?= z'z~.., a@'§.=\A.-DHS
CANDICE MILLER COOK JUDGMENT IN A C'IVIL CASE

VS

DAVID E. CAYWOOD and
DARRELL D. BLANTON. CASE NO: 04-2139 Ml/V

 

The parties having dismissed all claims in this matter:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order of
Dismissal With Prejudice and the Order cf Dism'ssal as to Defendant
Caywccd’s Third Party Complaint filed July , 2005, this case is
DISMISSED with prejudice.

APPROVED:

QY.\QM"@AQR

ON PHIPPS MCCALLA
UN ED STATES DISTRICT COURT

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D te 0 f Clsrk cf Court

 

 

(By)`U' Dek>ulty cle(lj<

Thie document entered on the docket sheet in compliance

with Ru!e 58 and/or 79(a) FRCP on fz '//'06 75

   

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Honorable J on McCalla
US DISTRICT COURT

